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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                         PLAINTIFF/RESPONDENT

 v.                                  No. 2:15-CR-20025-011

 MARIA D. JESUS MARTINEZ                                          DEFENDANT/PETITIONER

                                            ORDER

        The Court has received a report and recommendation (Doc. 348) from United States

 Magistrate Judge Mark E. Ford. No objections have been filed, and the deadline for filing

 objections has passed. The Magistrate recommends that the Court deny Petitioner’s 28 U.S.C. §

 2255 motion (Doc. 322) to vacate. The Court has reviewed the case and finds that the report and

 recommendation is proper, contains no clear error, and should be and hereby is ADOPTED IN ITS

 ENTIRETY.

        IT IS THEREFORE ORDERED that Petitioner Maria D. Jesus Martinez’s motion to vacate

 (Doc. 322) is DENIED and her petition is DISMISSED WITH PREJUDICE. No certificate of

 appealability shall issue.

        Judgment will be entered accordingly.

        IT IS SO ORDERED this 16th day of February, 2017.


                                                           /s/P. K. Holmes, III
                                                           P.K. HOLMES, III
                                                           CHIEF U.S. DISTRICT JUDGE
